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 1    SO. CAL. EQUAL ACCESS GROUP
      Jason Yoon (SBN 306137)
 2    Jason J. Kim (SBN 190246)
 3    101 S. Western Ave., Second Floor
      Los Angeles, CA 90004
 4    Telephone: (213) 252-8008
      Facsimile: (213) 252-8009
 5    scalequalaccess@yahoo.com
 6    Attorneys for Plaintiff
      MAL KIM
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      MAL KIM,                                          Case No.: 8:20-cv-00224-JVS (ADSx)
11
12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
14                                                      WITH PREJUDICE
      E-JEE CORPORATION D/B/A URBAN
15    GRILL TERIYAKI HOUSE; BUENA
16    PARK LEADER VENTURE LP; and
      DOES 1 through 10,
17
18                 Defendants.
19
20
            PLEASE TAKE NOTICE that MAL KIM
21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
      voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
23
      Procedure Rule 41(a)(1) which provides in relevant part:
24
            (a) Voluntary Dismissal.
25
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                          and any applicable federal statute, the plaintiff may dismiss an action
27
28
                          without a court order by filing:


                                                    1
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 8:20-cv-00224-JVS-ADS Document 10 Filed 03/19/20 Page 2 of 2 Page ID #:42




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5
      Court.
 6
 7    DATED: March 19, 2020          SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
